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                        COURTOFTHESTATEOFNEW
                  SUPREME                  YORK
                       OFMONROE
                  COUNTY
                                                                                                      x

                  Lifetime    Funding,
                                                                                                          Index No.
                                                  Plaintiff,


                                                  -against-

                  MYPILLOWINC; MIKELINDELL PRODUCTS               LLC;                                     SUMMONS
                  LINDELL MEDIALLC; LINDELL TECHNOLOGIES,
                  LLC; LINDELL PROPERTIES,LLC; LINDELL
                  PUBLISHING, LLC; LINDELL SERVICES,LLC;
                  LINDELL MANAGEMENT,       LLC; PRIORLAKE40
                  ACRES, LLC; Lindell Recovery Network; Lindell-TV LLC
                  and MICHAELJ LINDELL,


                                               Defendant(s).
                                                                                                      x


              To the above-named Defendant(s):

                          YOUAREHEREBYSUMMONED
                                             and required to serve upon Plaintiff's                                                 attorney   an

              answer to the complaint            in this       action    within     twenty days after      the service    of this    summons,

              exclusive       of the day of service,       or within      thirty    days after service    is   complete   if this   summonsis

              not personally       delivered    to you within           the State of     NewYork. In case of your failure            to answer,


             judgment will be taken against you by default                         for the relief   demanded in the annexed complaint.

                      Plaintiff   designates    MONROE
                                                     County as the place of trial.                        The basis of the venue is designated      in the
            Agreement between the parties.

                  Dated: October 22, 2024
                         NewYork,          NY
                                                                                      By: /s/ Steven Zakharvavev
                                                                                       Steven Zakharyayev, Esq.
                                                                                       10  W 37th Street,      RM
                                                                                                             602
                                                                                       NewYork, NY 10018
                                                                                      (201) 716-0681
                                                                                      Attorneys for Plaintiff




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           TODEFENDANT(S):
           MYPILLOWINC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           MIKE LINDELL PRODUCTSLLC
           1550 AUDUBON RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LINDELL MEDIALLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LINDELL TECHNOLOGIES,LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LINDELL PROPERTIES,LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LINDELL PUBLISHING, LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LINDELL SERVICES, LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LINDELL MANAGEMENT,    LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           PRIORLAKE40 ACRES, LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           LindellRecovery Network
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           Lindell-TV   LLC
           1550 AUDUBON    RD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,        MN55318;
           343 E. 82NDST., CHASKA,MN, 55318

           MICHAELJ LINDELL
           1550 AUDUBONRD, CHASKAMN, 55318;
           1440 BAVARIANSHORES,CHASKA,MN55318;
           343 E. 82NDST., CHASKA,MN, 55318



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                COURTOFTHESTATE OFNEW
          SUPREME                   YORK
               OFMONROE
          COUNTY


                                                                                                        X
          Lifetime      Funding                                                                             Index No.

                                                  Plaintiff,

                                                  -against-

                                                                                                            VERIFIED COMPLAINT
          MYPILLOWINC; MIKELINDELL PRODUCTS
                                          LLC;
          LINDELL MEDIALLC; LINDELL TECHNOLOGIES,
          LLC; LINDELL PROPERTIES,LLC; LINDELL
          PUBLISHING, LLC; LINDELL SERVICES,LLC;
          LINDELL MANAGEMENT,   LLC; PRIORLAKE40
          ACRES, LLC; Lindell Recovery Network; Lindell-TV
          LLC and MICHAELJ LINDELL,



                                            Defendant(s).
                                                                                                       x


                  Plaintiff,         Lifetime      Funding,           by its     attorney        Steven Zakharyayev,      Esq.     as    and for         its



         complaint     against        Defendant(s)          herein,        alleges    as follows:


                 1.    Plaintiff       Lifetime       Funding ("Plaintiff")               is a    NewYork limited      liability    company

                       engaged in the receivable                    financing        business.


                 2.    Upon information                and belief,            MYPILLOW INC ("Defendant-Seller")                         is   a foreign


                       corporation.


                 3.    Upon information               and belief,           MIKE LINDELL PRODUCTS
                                                                                                LLC ("Defendant-Seller

                       2") is a foreign         limited        liability      company.

                 4.    Upon information                and belief,            LINDELL MEDIA LLC ("Defendant-Seller                            3")   is         a


                       foreign        limited   liability       company.

                 5.    Upon information               and belief,           LINDELL TECHNOLOGIES,LLC ("Defendant-Seller

                       4")     is   a foreign   limited        liability      company.

                 6.    Upon information                and belief,          LINDELL PROPERTIES,LLC ("Defendant-Seller                                5")


                       is a foreign        limited      liability          company.



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                7.     Upon information                    and belief,             LINDELL PUBLISHING, LLC ("Defendant-Seller
                                                                                                                                                                                  6")

                       is   a foreign         limited        liability          company.

                8.     Upon information                   and belief,             LINDELL SERVICES, LLC ("Defendant-Seller                                               7")      is    a

                       foreign     limited          liability          company.

                9.     Upon information                   and belief,              LINDELL MANAGEMENT,
                                                                                                     LLC ("Defendant-Seller

                       8") is a foreign             limited        liability        company.

                10.    Upon information                  and belief,              PRIORLAKE40 ACRES, LLC ("Defendant-Seller                                                       9")

                      is    a foreign        limited       liability           company.

               11.    Upon information                   and belief,              Lindell      Recovery Network ("Defendant-Seller                                     10") is a

                      foreign     limited        liability         company.

               12.    Upon information                   and belief,               Lindell-TV           LLC ("Defendant-Seller                                   is   a foreign
                                                                                                                                                         11")

                      limited     liability         company.

               13.    Defendant          MICHAEL J LINDELL ("Defendant-Guarantor")                                                             is        an individual

                      residing     in the State              of Minnesota and upon information                          and belief                  is   a principal         of

                      defendant-seller.


               14.    Pursuant          to      a      receivable                 purchase         agreement and               personal                   guaranty           dated

                      SEPTEMBER
                              19, 2024 (the "Agreement"),                                                 Plaintiff    purchased                   a percentage          of the

                      Defendant-Seller's                  total          future      accounts receivable              up to      the         sum of $840,000.00

                      ("Purchased             Amount")              in     exchange for an upfront                    purchase price                      of $600,000.00

                      ("Purchase Price")                   A copy of the merchant agreement is attached                                            as EXH1BIT A.

                                                                                parties'
               15.    The Agreement contains                             the                   express consent to the jurisdiction                              of the courts

                      located    in the State of                NewYork.

               16.    Pursuant to the Agreement, Plaintiff                                  was authorized        to collect       via       an ACHelectronic

                      debit     of the Future Receivables,                             until     such time that Plaintiff                    collected           the total


                      amount of purchased                       receivables.


               17. Critical       to facilitating                 this         transaction,       the    Agreement       contains                  Defendant-Seller's




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                      express             covenant not to revoke                     its    ACHauthorization                to Plaintiff       or otherwise take any

                      measure to interfere                        with Plaintiff's            ability   to collect         the Future Receivables.

               18.    Contrary             to Defendant-Seller's                       express covenant                  set forth      above, Defendant-Seller

                      materially              breached the terms of the Agreement on OCTOBER
                                                                                           12, 2024                                                        by changing

                      the     designated                  bank account without                     Plaintiff's                                                        a stop
                                                                                                                         authorization,         by placing

                     payment on Plaintiff's                            debits        to the      account or by otherwise                                   measures to
                                                                                                                                               taking

                      interfere            with          Plaintiff's       ability         to collect     the Future           Receivables.             A copy of the
                     remittance                  history       is attached       as EXHIBIT B.


                                                                ASANDFORA FIRST CAUSEOFACTION
                                                                (Breach of Contract                 as to Defendant-Seller)


              19.    The Agreement provides                            that Defendant-Seller                     shall    be in default        of the Agreement if,

                     inter        alia,     it    breaches any covenants contained therein                                   or makes any representation                    or


                     warranty proving to have been incorrect,                                       false or misleading                 in   any material       respect.


              20.    As a result of Defendant-Seller's                                     breach of the provisions               set forth         above, Defendant-

                     Seller        has defaulted                 under the Agreement.


              21. Pursuant to the                        Agreement, in the event of Defendant-Seller's                                       default,     Plaintiff     may
                     declare          the total               amount of receivables                purchased and not delivered                          as immediately


                     due and owing to Plaintiff,                               including        costs    and fees.          Plaintiff        now has a balance of

                     $570,901.00                   in undelivered              Future Receivables.

              22. Subtracting                      the        amount of          receivables            Plaintiff          has previously               collected       from

                     Defendant-Seller                         under the Agreement from the total Future Receivables purchased by

                     Plaintiff,            there         is    presently        due and owing from Defendant-Seller                                     to Plaintiff       the


                     amount of $570,901.00 with                                interest       thereon from OCTOBER
                                                                                                                 12, 2024.


                                                               As ANDFORA SECONDCAUSEOFACTION
                                                                (Breach of Contract                 as to Defendant-Seller                     2)


              23.    The Agreement provides                            that Defendant-Seller                     2 shall be in default              of the Agreement


                           inter      alia,        it   breaches any covenants contained therein                                or makes any representation
                     if,




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                         or warranty proving to have been incorrect,                          false or misleading             in anymaterial             respect.

                  24.    As a result of Defendant-Seller                   2's breach of the provisions               set forth       above, Defendant-

                         Seller       2 has defaulted        under the Agreement.

                  25. Pursuant to the Agreement, in the event of Defendant-Seller                                          2's default,      Plaintiff      may
                        declare         the total      amount of receivables            purchased and not delivered                       as immediately

                        due and owing to Plaintiff,                    including      costs     and fees.      Plaintiff       now has a balance of

                        $570,901.00             in undelivered         Future Receivables.

                  26. Subtracting               the    amount of          receivables         Plaintiff       has previously              collected         from
.

                        Defendant-Seller               2 under the Agreement from the total                      Future Receivables purchased


                        by Plaintiff,          there is presently         due and owing from Defendant-Seller                           2 to Plaintiff        the


                        amount of $570,901.00 with                      interest    thereon from OCTOBER
                                                                                                       12, 2024.

                                                        AS ANDFORA THIRDCAUSEOFACTION
                                                         (Breach of Contract             as to Defendant-Seller                  3)

                  27.   The Agreement provides                   that Defendant-Seller              3 shall    be in default          of the Agreement
                                                                                                                                                                        I

                        if,   inter    alia,    it   breaches any covenants contained therein                      or makes any representation


                        or warranty            proving to have been incorrect,                false or misleading             in anymaterial          respect.


                  28.   As a result of Defendant-Seller                   3's breach of the provisions               set forth        above, Defendant-
                                                                                                                                                                        I
                        Seller        3 has defaulted       under the Agreement.


                  29. Pursuant to the Agreement, in the event of Defendant-Seller                                          3's default,     Plaintiff       may

                        declare        the total       amount of receivables            purchased and not delivered                       as immediately


                        due and owing to Plaintiff,                    including      costs    and fees.       Plaintiff      now has a balance of

                        $570,901.00             in undelivered         Future Receivables.


                  30. Subtracting               the    amount of          receivables         Plaintiff       has previously              collected         from

                        Defendant-Seller               3 under the       Agreement from the total Future Receivables purchased

                        by Plaintiff,          there    is presently      due and owing from Defendant-Seller                           3 to Plaintiff        the


                        amount of $570,901.00 with                      interest    thereon from OCTOBER
                                                                                                       12, 2024.


                                                         AS ANDFORA FOURTH
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                                                             (Breach of Contract          as to Defendant-Seller                 4)

                    31.   The Agreement provides                   that Defendant-Seller              4 shall be in default           of the Agreement

                          if,   inter     alia,    it   breaches any covenants contained therein                   or makes any representation


                          or warranty             proving to have been incorrect,              false or misleading           in anymaterial          respect.

                    32.   As a result of Defendant-Seller                   4's breach of the provisions             set forth        above, Defendant-

                          Seller        4 has defaulted        under the Agreement.

                    33. Pursuant to the Agreement, in the event of Defendant-Seller                                       4's default,     Plaintiff     may

                          declare        the total        amount of receivables          purchased and not delivered                     as immediately


                          due and owing to Plaintiff,                  including      costs     and fees.     Plaintiff      now has a balance of

                          $570,901.00              in undelivered      Future Receivables.

                    34. Subtracting                the     amount of       receivables         Plaintiff     has previously              collected      from

                          Defendant-Seller                 4 under the Agreement from the total Future Receivables purchased

                          by Plaintiff,           there is presently       due and owing from Defendant-Seller                         4 to Plaintiff      the


                          amount of $570,901.00 with                     interest    thereon from OCTOBER
                                                                                                        12, 2024.


                                                            AS ANDFORA FIFTH CAUSEOFACTION
                                                            (Breach of Contract as to Defendant-Seller                          5)


                    35.   The Agreement provides                   that Defendant-Seller             5 shall be in default            of the Agreement


                          if,   inter    alia,     it   breaches any covenants contained therein                  or makes any representation


                          or warranty             proving to have been incorrect,              false or misleading           in anymaterial          respect.


                                                                            5's breach of the provisions                                       Defendant-
                    36.   As a result of Defendant-Seller                                                           set forth         above,

                          Seller        5 has defaulted        under the Agreement.


                    37. Pursuant to the                  Agreement, in the event of Defendant-Seller                      5's default,     Plaintiff     may

                          declare        the total        amount of receivables          purchased and not delivered                     as immediately


                          due and owing to Plaintiff,                  including       costs     and fees.    Plaintiff       now has a balance of

                          $570,901.00              in undelivered      Future Receivables.


                    38. Subtracting                the     amount of       receivables         Plaintiff     has previously              collected       from


                          Defendant-Seller                 5 under the    Agreement from the total              Future Receivables              purchased


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                      by Plaintiff,             there is presently              due and owing from Defendant-Seller                          5 to Plaintiff       the

                      amount of $570,901.00 with                              interest    thereon from OCTOBER
                                                                                                             12, 2024.

                                                                 AS ANDFORA S1XTHCAUSEOFACTION
                                                                 (Breach of Contract          as to Defendant-Seller                 6)

              39.     The Agreement provides                            that Defendant-Seller             6 shall be in default            of the Agreement

                     if,    inter     alia,         it   breaches any covenants contained therein                      or makes any representation

                     or warranty              proving to have been incorrect,                      false or misleading           in anymaterial             respect.

              40.    As a result of Defendant-Seller                            6's breach of the provisions             set forth        above, Defendant-

                     Seller         6 has defaulted                under the Agreement.

              41. Pursuant to the                        Agreement, in the event of Defendant-Seller                          6's default,      Plaintiff      may
                    declare          the total             amount of receivables             purchased and not delivered                     as immediately


                    due and owing to Plaintiff,                              including     costs     and fees.    Plaintiff       now has a balance of

                    $570,901.00                in undelivered                Future Receivables.

             42. Subtracting                   the         amount of           receivables         Plaintiff     has previously              collected         from

                    Defendant-Seller                       6 under the Agreement from the total                      Future Receivables purchased


                    by Plaintiff,             there         is   presently     due and owing from Defendant-Seller                         6 to Plaintiff        the


                    amount of $570,901.00 with                               interest    thereon from OCTOBER
                                                                                                            12, 2024.

                                                            ASANDFORA SEVENTHCAUSEOFACTION
                                                             (Breach of Contract             as to Defendant-Seller                 7)


             43.    The Agreement provides                             that Defendant-Seller             7 shall be in default            of the Agreement


                    if,    inter     alia,     it        breaches any covenants contained therein                     or makes any representation

                                                                                                                                in anymaterial
                                              proving to have been incorrect,
                    or warranty                                                                    false or misleading                                   respect.


             44.    As a result of Defendant-Seller                             7's breach ofthe provisions             set forth        above, Defendant-


                    Seller         7 has defaulted                under the Agreement.


              45. Pursuant to the Agreement, in the event of Defendant-Seller                                                 7's default,     Plaintiff       may

                    declare          the total             amount of receivables             purchased and not delivered                     as immediately


                    due and owing to Plaintiff,                              including     costs    and fees.     Plaintiff       now has a balance of



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                          $570,901.00               in undelivered          Future Receivables.

              46. Subtracting                       the    amount of          receivables         Plaintiff     has previously              collected       from

                      Defendant-Seller                     7 under the Agreement from the total                    Future Receivables               purchased

                      by Plaintiff,            there is presently             due and owing from Defendant-Seller                          7 to Plaintiff     the

                      amount of $570,901.00 with                            interest    thereon from OCTOBER
                                                                                                           12, 2024.

                                                               As ANDFORANEIGTH CAUSEOFACTION
                                                               (Breach of Contract           as to Defendant-Seller                8)

              47.    The Agreement provides                          that Defendant-Seller              8 shall be in default           of the Agreement

                     if,    inter     alia,     it    breaches any covenants contained therein                       or makes any representation

                     or warranty proving to have been incorrect,                                 false or misleading           in anymaterial          respect.

              48.   As a result of Defendant-Seller                           8's breach of the provisions             set forth        above, Defendant-

                    Seller          8 has defaulted              under the Agreement.

             49. Pursuant to the Agreement, in the event of Defendant-Seller                                                8's default,      Plaintiff     may
                    declare          the total            amount of receivables             purchased and not delivered                    as immediately


                    due and owing to Plaintiff,                            including     costs    and fees.     Plaintiff      now has a balance of

                    $570,901.00                in undelivered              Future Receivables.

             50.    Subtracting                the        amount of          receivables         Plaintiff     has previously              collected        from

                    Defendant-Seller                      8 under the       Agreement from the total Future Receivables purchased

                    by Plaintiff,             there       is   presently     due and owing from Defendant-Seller                         8 to Plaintiff      the


                    amount of $570,901.00 with                             interest    thereon from OCTOBER
                                                                                                          12, 2024.


         .                                                 AS ANDFORA NINTHCAUSEOFACTION
                                                           (Breach of Contract              as to Defendant-Seller               9)


             51.    The Agreement provides                           that Defendant-Seller             9 shall be in default            of the Agreement


                    if,    inter     alia,     it    breaches any covenants contained therein                       or makes any representation

                                                                                                                              in anymaterial           respect.
                    or warranty               proving to have been incorrect,                    false or misleading


             52.    As a result of Defendant-Seller                           9's breach of the provisions            set forth       above, Defendant-


                    Seller         9 has defaulted               under the Agreement.



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              53. Pursuant to the
                                  Agreement, in the event of Defendant-Seller                                             9's default,      Plaintiff     may
                     declare       the total     amount of receivables             purchased           and not delivered                 as immediately

                    due and owing to Plaintiff,                including          costs     and fees.         Plaintiff      now has a balance of

                    $570,901.00            in undelivered      Future Receivables.

              54. Subtracting              the    amount of       receivables             Plaintiff      has previously                  collected        from

                    Defendant-Seller              9 under the Agreement from the total                         Future Receivables purchased

                   by PlaintifE           there is presently      due and owing from Defendant-Seller                                 9 to Plaintiff       the

                   amount of $570,901.00 with                  interest     thereon from OCTOBER
                                                                                               12, 2024.

                                                   AS ANDFORA TENTHCAUSEOFACTION
                                                   (Breach of Contract as to Defendant-Seller                                  10)

             55.   The Agreement provides                that Defendant-Seller                 10 shall be in default                of the Agreement

                   if,   inter   alia,    it   breaches any covenants contained therein                          or makes any representation


                   or warranty           proving to have been incorrect,              false or misleading                   in anymaterial           respect.


             56.   As a result             of Defendant-Seller             10's    breach         of    the     provisions           set   forth        above,

                   Defendant-Seller              10 has defaulted         under the Agreement.

             57. Pursuant to the Agreement, in the event of Defendant-Seller                                         10's default,         Plaintiff     may

                   declare       the total       amount of receivables             purchased and not delivered                         as immediately


                   due and owing to Plaintiff,                 including      costs       and fees.       Plaintiff         now has a balance of

                   $570,901.00            in undelivered      Future Receivables.

             58.   Subtracting            the    amount of       receivables          Plaintiff         has previously                 collected         from

                   Defendant-Seller              10 under the Agreement from the total                         Puture Receiv.ables             purchased


                   by Plaintiff,         there is presently     due and owing from Defendant-Seller                                  10 to Plaintiff       the


                   amount of $570,901.00 with                  interest     thereon from OCTOBER
                                                                                               12, 2024.


                                                  AS ANDFORANELEVENTH
                                                                    CAUSEOFACTION
                                                   (Breach of Contract              as to Defendant-Seller                     11)


             59.   The Agreement provides                that Defendant-Seller                 11 shall       be in default of the Agreement

                         inter   alia,    it   breaches any covenants contained therein                          or makes any representation
                   if,




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                    or warranty proving to have been incorrect,                    false or misleading               in anymaterial       respect.

              60.   As a result        of Defendant-Seller              11's   breach          of    the    provisions      set   forth    above,

                    Defendant-Seller        11 has defaulted           under the Agreement.


              61. Pursuant to the Agreement, in the event of Defendant-Seller                                   11's default,     Plaintiffmay

                    declare     the total   amount of receivables              purchased and not delivered                   as immediately

                    due and owing to Plaintiff,             including      costs     and fees.          Plaintiff     now has a balance of

                    $570,901.00       in undelivered        Future Receivables.

             62. Subtracting          the   amount of         receivables          Plaintiff         has previously          collected       from

                    Defendant-Seller        11 under the Agreement from the total                          Future Receivables purchased


                    by Plaintiff,    there is presently      due and owing from Defendant-Seller                           11 to Plaintiff     the


                    amount of $570,901.00 with              interest     thereon from OCTOBER
                                                                                            12, 2024.



                                            AS ANDFORA TWELVTH
                                                             CAUSEOFACTION
                                            (Breach of Guaranty as to Defendant-Guarantor)

             63.    The       Agreement        contains         Defendant-Guarantor's                      separately        executed        and

                    unconditional       guarantee of payment in the event of default                            under the Agreement by

                    Defendant-Seller        ("Guaranty").


             64.    As a result of Defendant-Seller's            breach and default                 under the Agreement as set forth

                    above and pursuant           to   the    Guaranty,         there     is     presently           due and owing from

                    Defendant-Guarantor          to Plaintiff      the    amount of $570,901.00                      with interest    thereon


                    from OCTOBER
                               12, 2024.




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                    WHEREFORE,Plaintiff            demands judgment against defendants on the respective
               causes of action in the amount of $570,901.00, plus interest from OCTOBER             12, 2024
                              attorneys'
               and costs and             fees, for  such other and further relief as this Court may deem  just
               and proper.


          Dated: October 22, 2024
                 NewYork,    NY                             Bv:/s/   Steven Zakharvaver
                                                            STEVENZAKHARYAYEV,ESQ
                                                             10   W37th Street, RM602
                                                            NewYork, NY10018
                                                            (201) 716-0681
                                                            Attorneys for Plaintif




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              COURTOFTHESTATEOF NEW
        SUPREME                   YORK
             OF MONROE
        COUNTY


           Lifetime          Funding,
                                                                                                           Index No.
                                                   Plaintiff,

                                                   -against-

           MYPILLOWINC; MIKELINDELL PRODUCTS
                                           LLC;                                                            VERIFICATION BYA PARTY
           LINDELL MEDIALLC; LINDELL TECHNOLOGIES,
           LLC; LINDELL PROPERTIES,LLC; LINDELL
           PUBLISHING, LLC; LINDELL SERVICES,LLC;
           LINDELL MANAGEMENT,       LLC; PRIORLAKE40
           ACRES, LLC; Lindell Recovery Network; Lindell-TV LLC
           and MICHAELJ LINDELL,


                                              Defendant(s).
                                                                                                    x
        STATEOFNEWYORK)

       COUNTYOFNEWYORK)


       MICHAELKAY, being duly sworn, hereby deposes and states the following:

                  I    ama(n) MANAGING
                                     PARTNER
                                           of Lifetime Funding in the within                                          action.     I have read the   foregoing

       Verified       Complaint and know the contents                  thereof;    the   same is true to myown knowledge,              except as to matters

       therein    stated to be alleged         on information          and belief,       and as to those   matters,   I believe     them to be true.

                  The foregoing         statements         are true   under penalties       of perjury.




                                                                                                             MICHAELKAY
                                                                    ACKNOWLEDGEMENT
       STATEOF                                a(                )


                                 OC
                                                                )
       COUNTY
            OF                            -   5                 )




       Onks           22..                      4, The foregoing instrument was acknowledged before meby ngh                                           1
       presence or       Oonli      notarization by         MICHAELKAY     who is personally known to me or p'taveü• iif on.                                is   of
       satisfactory evidence        to be the individual   whosename is subscribed to the within instrumer a iEaclqIowled                                  i¼e
       that he executed the samein his representative                  capacity,     añd that by his signature on the initmment4e ex
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       instrument.                                                                                                                   SEL     l)FRI
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